     19-51475-KMS Dkt 90 Filed 11/10/22 Entered 11/10/22 12:30:22 Page 1 of 1


 __________________________________________________________________
                                                SO ORDERED,




                                                Judge Katharine M. Samson
                                                United States Bankruptcy Judge
                                                Date Signed: November 10, 2022


         The Order of the Court is set forth below. The docket reflects the date entered.
 __________________________________________________________________

                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION

IN THE MATTER OF:                                                          CHAPTER 13
DEVAN A WILLIAMS                                                           Case No.: 19-51475 KMS

             ORDER UPON DEBTOR DIRECTING PAYMENTS TO TRUSTEE

       IT APPEARING TO THE COURT that the above-referenced Debtor(s) is subjected
earnings to the jurisdiction of this Court and that the Debtor(s) is subject to such Orders of this
Court as are necessary to effectuate the provisions of the proposed bankruptcy plan. The Court
hereby orders, in keeping with 11 U.S.C. §1306(a)(2), 1322(a)(1) and § 1326(a)(1)(A), that:

                                      DEVAN A WILLIAMS
                                    105 W SUNNYBROOK RD
                                    CARRIERE, MS 39426-7832

is directed to pay by either TFS or thru certified funds the sum of $2,316.00 per month beginning
with the payment due on November 29th, 2022. Please include your name and case number and
make the certified funds payable to Warren A. Cuntz, Jr., Trustee and mail to:

                          WARREN A. CUNTZ, JR., CH. 13 TRUSTEE
                                     P.O. BOX 3749
                               GULFPORT, MS 39505-3749
                                     (228) 831-9531

and continuing monthly, unless or until: (a) the payment amount is altered or modified by Court Order
or (b) the Debtor(s) is released from making further plan payments.

                                       ##END OF ORDER##
